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 6
                                UNITED STATES DISTRICT COURT
 7
                              SOUTHERN DISTRICT OF CALIFORNIA
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 9   UNITED STATES OF AMERICA,                          Case No.:     'Cll aS(;tf~
10                              Plaintiff,              I N F 0 R M A T I 0 N

11         v.                                           Title 8, U.S.C., Sec. 1325 -
                                                        Improper Entry by an Alien
12   DENNIS OMAR ANTUNEZ-ANTUNEZ,                       (Misdemeanor)

13                              Defendant.

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     The United States Attorney charges:
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17                              .1\pr-1· I 27   ff\~rJtA,
          on    or   about    ~'           2018,    within    the   Southern    District    of
18
     California,     the     Defendant     DENNIS    OMAR    ANTUNEZ-ANTUNEZ,     an    alien,
19
     unlawfully eluded examination and inspection by immigration officers,
20
     a misdemeanor;     in violation of Title 8,             United States Code,       Section
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     1325(a(2).
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23
          DATED:     5/J ~/re:                      ADAM BRAVERMAN
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                                                    United States Attorney
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26                                                  ~.~                                     ..
                                                    Davis M. Loop SL·\U~?.~w r               ff
27
                                                    Special Assistant U.S. Attorney
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     *:*:5/7/18
